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                               UNITED STATES DISTRICT COURT

                                  DISTRICT OF SOUTH DAKOTA

                                    SOUTHERN DIVISION
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 o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o

 THE TRANSFORMATION PROJECT, INC.,                     :          No. 4:23-CV-04021 -KES
 and JACK FONDER,

                 Plaintiffs,

 v.

                                                            STIPULATION FOR DISMISSAL
GOVERNOR KRISTI NOEM, in her official
capacity only, and SECRETARY OF HEALTH                 .
MELISSA MAGSTADT, in her official
capacity only,

                 Defendants.
o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o-o
      The parties stipulate that, without further notice or hearing, the Court may enter an order
                                         i
dismissing this case with prejudice, with each party bearing its own costs.
                                   —
         Dated this / day of                      , 2024.

                                                 ROBINS KAPLAN LLP


                                            By
                                                 Brendan V.Johnson
                                                 Erica A. Ramsey
                                                 Timothy W. Billion
                                                 Thad A. Titze
                                                 140 North Phillips Avenue, Suite 307
                                                 Sioux Falls, SD 57104
                                                 biohnson@robinskaplan.com
                                                 eramsey@robinskaplan.com
                                                 tbillion@robinskaplan.com
                                                 ttitze@robinskaplan.com
                                                 Attorneys for Plaintiffs
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Case Number: 4:23-CV-04021-KES
Stipulation for Dismissal




         Dated this 1st day of February, 2024.

                                                 WOODS, FULLER, SHULTZ & SMITH P.C.


                                          By
                                                 James E. Moore
                                                 P.O. Box 5027
                                                 300 South Phillips Avenue, Suite 300
                                                 Sioux Falls, SD 57117-5027
                                                 Ph.: (605) 336-3890
                                                 Email: James.Moore@woodsfuller.com
                                                 Attorneys for Defendants




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4885-4260-6494, v. 1
